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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


  Civil Action No. 21-CV-02694-STV

  SARAH BRUBAKER, and DALE BRUBAKER,

  Plaintiffs,

  v.

  MEGAN A. RING, in her individual capacity and in her official capacity as the Colorado

  State Public Defender, and

  KATHRYN HAY, in her individual capacity and in her official capacity as a Deputy

  Colorado State Public Defender,

  Defendants.


        PLAINTIFFS’ WITNESS AND EXHIBIT LIST FOR NOVEMBER 19, 2021
                                HEARING

          Pursuant to the Court’s Order of November 3, 2021, Plaintiffs’ counsel provided this

  proposed joint witness and exhibit list to Defendants’ counsel, who declined to agree to

  provide a joint list. See Email correspondence, Attachment. The Plaintiffs, therefore, hereby

  submit their Witness and Exhibit Lists.



                                         EXHIBIT LIST

        Docket                 Description       Party    Objection(s)
        Reference                                Offering
  1                            Criminal          P        FRE 401, 402, 403
                               complaints
  2     Document 13-2          Public Defender   P
                               Applications


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  3                    20210428 Reply         P
                       to Public
                       Defender’s
                       Response that
                       Ms. Brubaker
                       Does Not Qualify
  4                    Sara Brubaker          P
                       Rule 21 Petition
  5                    Order Denying          P
                       Rule 21 Petition
  6    Document 19-2 + Dale Brubaker          P
       appendices      Rule 21 Petition
  7    Document 19-4   Order Denying          P
                       Rule 21 Petition
  8    Document 21-1   PAIRR 2                P         FRE 401, 402, 403
                       Response

                                     WITNESS LIST

  Witness       Party Topics                                 Objection(s)
  Dale Brubaker P     Charges and penalties,                 FRE 401, 402, 403
                      circumstances of prior appointed
                      counsel and loss, bond
                      circumstances, income and assets,
                      reapplication after bond,
                      comprehension of proceedings in
                      Larimer County.
  Kathryn Hay   P     Function of Public Defender,           FRE 401, 402, 403
                      supervision of regional office,
                      reporting to state office, Internal
                      procedures and methods for
                      assessing indigency, CJD04-04,
                      deviations and exceptions,
                      knowledge of disqualification in
                      the Brubakers’ cases, statistics on
                      disqualification, reconsideration of
                      qualification decisions
  Eric Vanatta  P     Assessment of Brubaker                 FRE 401, 402, 403
                      applications, representations
                      concerning their qualification,
                      communications with Defendant
                      Hay




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  Respectfully Submitted this 17th day of November, 2021

                                                                    /s/_Christopher S. Gregory
                                                                         Christopher S. Gregory
                                                                   The Gregory Law Firm, LLC
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                                                                          Longmont, CO 80501
                                                                                  970.672.0846
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                                                                        /s/ Ingrid J. DeFranco
                                                                            Ingrid J. DeFranco
                                                           LAW OFFICE OF INGRID J. DEFRANCO
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                                                                    Brighton, CO 80601-0128
                                                                                 303-443-1749
                                                                            Fax: 303-558-4294
                                                                 Ingrid.defranco@gmail.com

                                                                        Attorneys for Plaintiffs


                                CERTIFICATE OF SERVICE

         I hereby certify that on this 17th day of November, 2021, the foregoing Motion was

  filed through CM/ECF, with service upon all counsel of record, including:


  Scott Schultz
  Senior Assistant Attorney General
  Ralph L. Carr Colorado Judicial Center
  1300 Broadway, 7th Floor
  Denver, CO 80203
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  Attorneys for Defendants                                   /s/ Ingrid J. DeFranco

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        Subject: RE: Brubaker v. Ring et al.--Joint Exhibit and Witness List
        From:     "Scott Schultz" <Scott.Schultz@coag.gov>
        Sent:     11/17/2021 4:28:28 PM
        To:       "Christopher Gregory" <cspgregory@thegregorylawfirm.net>; "Andrew Katarikawe"
                  <Andrew.Katarikawe@coag.gov>;
        CC:       "ingrid.defranco@gmail.com" <ingrid.defranco@gmail.com>;

       Mr. Christopher Gregory,

       Counsel for the Defendants objects to your proposed Exhibits 1 and 8 and the en re Witness List for lack of
       founda on and Relevancy under Federal Rules of Evidence 401, 402, and 403. Subsequently, counsel for the
       Defendants will not agree to the ﬁling of a joint exhibit and witness list. I will treat your email sent the
       a ernoon it was due as a conferral on “Plain ﬀs’ Proposed Exhibit and Witness List” which should include the
       above objec ons. Counsel for defendants reserves all of their rights to further object to Plain ﬀs’ proposed
       witnesses in this ma er.

       Sincerely,
       Sco Schultz
       Senior Assistant A orney General
       Colorado Dept. of Law
       Natural Resources & Environment Sec on*
       Ralph L. Carr Colorado Judicial Center
       1300 Broadway, 7th Floor
       Denver, CO 80203
       phone = (720) 508-6256
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       *Counsel to the Oﬃce of the Colorado State Public Defender and the Oﬃce of Alternate Defense Counsel



       From: Christopher Gregory <cspgregory@thegregorylawﬁrm.net>
       Sent: Wednesday, November 17, 2021 1:42 PM
       To: Sco Schultz <Sco .Schultz@coag.gov>; Andrew Katarikawe <Andrew.Katarikawe@coag.gov>
       Cc: ingrid.defranco@gmail.com
       Subject: Brubaker v. Ring et al.--Joint Exhibit and Witness List

       Hi Scott and Andrew,

       Magistrate Varholak’s Minute Order from 11/3/21 defines prehearing management for our hearing on
       Friday. According to the Minute Order, the court expects submission of a joint exhibit and witness list
       today. Could you please look over the attached Plaintiffs’ draft and let us know if you have any
       exhibits, witnesses, and/or if you approve filing the joint statement.

       Warmest regards,
       Christopher Gregory



                                  The Gregory Law Firm, LLC


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11/17/2021



                                          Christopher S.P. Gregory
                                            A orney at Law

                      Mailing: 201 Coﬀman St., #1822, Longmont, CO 80502
                            Oﬃce: 473 Main St., Longmont, CO 80501
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